 8:13-cr-00317-LSC-TDT       Doc # 76      Filed: 05/23/14   Page 1 of 1 - Page ID # 148




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



In Re: Attorney Thomas Anderson                  8:11CV444
                                                 8:13CR317
2013/2014 Attorney Assessment



       Pursuant to Nebraska General Rule 1.7(d), the court requires all attorneys
enrolled in the bar of this court to pay a biennial assessment; this rule does not apply to
attorneys who appeared before the court pro hac vice or are employed by the federal
government or a state, county, city, or local government. The proceeds of this
assessment defray the cost of maintaining the role of attorneys admitted to practice
before this court, reimburse appointed counsel for reasonable expenses incurred in
representing indigent litigants, and fund the Federal Practice Fund.


       In December 2012, the clerk’s office sent out an e-mail to all Active/Due and
Active/Paid attorneys requesting payment for the 2013/2014 Attorney Assessment. On
March 31, 2014, the clerk’s office sent an additional e-mail to attorneys who were
involved in a pending case, but had not paid the 2013/2014 fee.


       As of this date, Attorney Thomas Anderson has a pending case(s) in this court
and has not paid the 2013/2014 Attorney Assessment. Mr. Anderson is directed to pay
the $20.00 fee or show cause why he is unable to pay this fee within 30 days from the
date of this order.


       Dated this 23rd day of May, 2014.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 Chief Judge Laurie Smith Camp
